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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


 JOHN DOE,                              )
                                        )
                Plaintiff,              )
                                        )
                v.                      )              Case No. 1:18-cv-3713-TWP-DLP
                                        )
 INDIANA UNIVERSITY,                    )
                                        )
                Defendant.              )

                       NOTICE OF DISMISSAL WITHOUT PREJUDICE

        Pursuant to FED. R. CIV. P. 41(a)(1)(A), Plaintiff, John Doe, by counsel, voluntarily dismisses

 this action against Defendant, Indiana University, without prejudice.



                                                       Respectfully submitted,


                                                       /s/ Margaret M. Christensen
                                                       Margaret M. Christensen, 27061-49
                                                       Jessica Laurin Meek, 34677-53
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                                                       Attorneys for Plaintiff John Doe




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 11th day of February 2019, a copy of the foregoing Notice of
 Dismissal Without Prejudice was filed via the Court’s electronic filing system.

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                                                            /s/ Margaret M. Christensen
                                                            An Attorney for John Doe




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